Case 2:20-cv-01402-GJP Document 19 Filed 05/19/20 Page 1 of 3
               Case 2:20-cv-01402-GJP Document 19 Filed 05/19/20 Page 2 of 3

 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Andrew D. Abramowitz                                                               to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 Michael Dell'Angelo
 ______________________              _________________________
                                                                             05/20/2009                PA 80910
                                                                             ____________________      ___________________
 (Sponsor’s Name)                    (Sponsor’s Signature)                   (Admission date)           (Attorney
                                                                                                       Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

   Berger Montague PC
   1818 Market Street, Suite 3600, Philadelphia, PA 19103
   (215) 875-3080




I declare under penalty of perjury that the foregoing is true and correct.

             05/19/2020
Executed on __________________________                          ____________________________________________
                       (Date)                                                (Sponsor’s Signature)
           Case 2:20-cv-01402-GJP Document 19 Filed 05/19/20 Page 3 of 3




                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PATRICK MCDERMID, individually and on :                                Civil Action
 behalf of all others similarly situated, :
                  v.                                      :
                                                          :
 INOVIO PHARMACEUTICALS, INC., and                        :             No.: 2:20-cv-01402-GJP
 J. JOSEPH KIM
                                             CERTIFICATE OF SERVICE

                                                                                       Andrew D. Abramowitz
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:

       Via Email to:
                                                                 Koji Fukumura
      Patrick Loftus
                                                                 Peter Adams
      DUANE MORRIS LLP
                                                                 Craig TenBroeck
      30 South 17th Street
                                                                 COOLEY LLP
      Philadelphia, PA 19103
                                                                 4401 Eastgate Mall
                                                                 San Diego, CA 92121


                                                                        ____________________________________
                                                                        (Signature of Attorney)
                                                                         Michael Dell'Angelo
                                                                        ____________________________________
                                                                        (Name of Attorney)
                                                                         Patrick McDermid
                                                                        ____________________________________
                                                                        (Name of Moving Party)
                                                                         05/19/2020
                                                                        ___________________________________
                                                                        (Date)
